IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PENNSYLVANIA

CHRISTINE BIROS, Case No. 17 CJ 04886

Plaintiff,
Vs. NOTICE OF
APPEARANCE
U LOCK INC.,
Defendant.
Filed on behalf of:
Wenn MILES MYCKA
Representing himself:
wr Miles Mycka
ow 5148 Peach St #401
or AO Erie, PA 16509
Bo Q as . My phone 814-283-4820
on a a My email mmm@thunderland.net
5 eS
Tess —_ ad
ore l ws
woe -
zt ae
of 5.
t=
ba es
ee =
a>
IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PENNSYLVANIA
CHRISTINE BIROS, Case No. 17 CU 04886
Plaintiff,

)
)
)
)
vs. )
)
U LOCK INC., a Pennsylvania corp., }

)

)

Defendant.

NOTICE OF APPEARANCE

M. Miles Mycka the interested party tenant appears in this case
solely to appeal the order that the court put on the docket May 17
2022 giving Christine Biros possession of 14140 Route 30 North
Huntingdon even though she told the court she intended to block the
tenants and lock up their things and make them pick it up even though
she didn’t give tenants and bailors any form of notification or tell
them there was a lawsuit against them or that the court was
considering evicting the tenants.

Thank you,

vn ble Weds

ki, Miles Mycka

5148 Peach St #401

Erie, PA 16509

My phone 814-283-4820

My email mmm@thunderland.net

 
